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 9
10                        UNITED STATES DISTRICT COURT

11                       CENTRAL DISTRICT OF CALIFORNIA
12                               SOUTHERN DIVISION
13
       STEVEN RUPP, et al.,                     Case No.: 8:17-cv-00746-JLS-JDE
14
15                            Plaintiffs,       PLAINTIFFS’ NOTICE OF
                                                SUPPLEMENTAL AUTHORITY
16                 vs.
17     ROB BONTA, in his official capacity as
       Attorney General of the State of
18     California,
19
                              Defendant.
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                PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
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 1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2          Plaintiffs Steven Rupp, Steven Dember, Cheryl Johnson, Michael Jones,
 3 Christopher Seifert, Alfonso Valencia, Troy Willis, Dennis Martin, and the
 4 California Rifle & Pistol Association, Incorporated, (collectively “Plaintiffs”) submit
 5 this notice of supplemental authority in support of Plaintiffs’ Motion for Summary
 6 Judgment (Dkt. 150) and in opposition to Defendant’s Motion for Summary
 7 Judgment (Dkt. 149), which were fully briefed on July 14, 2023, and are currently
 8 set for hearing on September 8, 2023.
 9          On August 7, 2023, the Ninth Circuit Court of Appeals issued a decision in
10 the matter of Teter v. Lopez, No. 20-15948, 2023 WL 5008203 (9th Cir. Aug. 7,
11 2023), which invalidated Hawaii’s ban on butterfly knives based on a faithful
12 application of New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111
13 (2022). A true and correct copy of the Teter opinion is attached as Exhibit 1.
14          Teter dooms at least four of the State’s main arguments for upholding the
15 AWCA’s rifle ban in this matter.
16          First, the State argues that this Court “must conduct the ‘common use’
17 analysis at the textual stage of the Bruen standard, where Plaintiffs bear the burden
18 of persuasion.” Defs.’ Opp. 6:11-13. The State claims that the Ninth Circuit has
19 endorsed that approach, relying on a passing comment in United States v. Alaniz, __
20 F.4th __, 2023 WL 3961124, (9th Cir. June 13, 2023). Defs.’ Opp. 6:7-11. Teter,
21 however, directly “reject[ed]” Hawaii’s essentially identical argument “that the
22 purported ‘dangerous and unusual’ nature of [the restricted arms] means they are not
23 ‘arms.’” Teter, 2023 WL 5008203, at *9. Instead, Teter explains that because “the
24 relevance of a weapon’s dangerous and unusual character lies in the ‘historical
25 tradition of prohibiting the carrying of dangerous and unusual weapons . . .,’”
26 whether an arm is “‘dangerous and unusual’ is a contention as to which [the State]
27 bears the burden of proof in the second prong of the Bruen analysis.” Id. (quoting
28 Dist. Of Columbia v. Heller, 554 U.S. 570, 627 (2008)). This mirrors Plaintiffs’
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                PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
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 1 analysis. See, e.g., Pltfs.’ MSJ 17:13-20; see also Pltf’s Reply 3:21-27.
 2          Second, the State argues that “Plaintiffs must also demonstrate that [the
 3 Banned Rifles] are actually used and suitable for self-defense to show that they are
 4 in common use for that purpose.” Defs.’ Opp. 12:6-8. Teter, however, did not
 5 require the plaintiffs to show how often people actually use a butterfly knife in self-
 6 defense. Instead, Teter concluded that they were entitled to summary judgment on
 7 “common use” because there was “no genuine issue of material fact as to whether
 8 butterfly knives are commonly owned for lawful purposes.” Teter, 2023 WL
 9 5008203, at *9 (9th Cir. Aug. 7, 2023) (emphasis added). This, again, mirrors
10 Plaintiffs’ analysis. (Pltfs.’ MSJ 15:19-23, 28:8-11; Pltfs.’ Reply 8:17-25).
11          Third, the State argues that Penal Code Section 30515(a) does not trigger
12 Second Amendment scrutiny supposedly because it “merely restricts the use of
13 certain parts or accessories with certain semiautomatic rifles, leaving Plaintiffs free
14 to acquire rifles that lack those parts or accessories . . .,” which the State contends
15 “[are not] necessary to operate any arm for self-defense.” Defs.’ Opp p. 8-9. By
16 invalidating a ban on butterfly knives, a subset of knives, Teter implicitly rejects the
17 State’s argument. Indeed, as with the Banned Rifles, there are likewise alternative
18 knives that lack the “unnecessary” folding operation of a butterfly knife for which it
19 was banned.
20          Finally, attempting to meet its burden under Bruen’s historical inquiry, the
21 State cites hundreds of historical laws that it purports to be sufficient analogues to
22 the AWCA and argues that “[i]t does not matter that some of the historical laws
23 generally restricted the carry (and not possession) of certain weapons.” Defs.’ MSJ
24 30:3-4; see also id. at 4-16. As Teter explained in rejecting Hawaii’s effort to
25 analogize its butterfly knife ban to many of the exact same laws, however, “the
26 ‘how’ of [those] state statutes is different—they regulate different conduct” from a
27 law that “categorically ban[s] the possession of . . . types of [arms].” Teter, 2023 WL
28 5008203, at *11. Laws that merely regulate a weapon’s use thus cannot be
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 1 considered “proper historical analogues” to a law that “categorically ban[s] . . .
 2 possession” of arms commonly owned by law-abiding citizens for lawful purposes.
 3 Id. That necessarily dooms the State’s premise that it can rely on such statutes to
 4 establish a “tradition of regulating dangerous weapons.” Defs.’ MSJ 27:1-2; Defs.’
 5 Opp. 30:3-12. The State must instead provide examples of historical laws that are
 6 sufficiently analogous to the AWCA’s rifle ban specifically.
 7
 8 Dated: August 24, 2023                         MICHEL & ASSOCIATES, P.C.
 9
10                                                s/ Sean A. Brady
                                                  Sean A. Brady
11                                                Attorneys for Plaintiffs
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                      EXHIBIT 1
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                            FOR PUBLICATION

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

          ANDREW TETER; JAMES GRELL,                No. 20-15948

                         Plaintiffs-Appellants,        D.C. No.
                                                    1:19-cv-00183-
           v.                                         ACK-WRP

          ANNE E. LOPEZ, in her official
          capacity as the Attorney General of         OPINION
          Hawaii; MARK HANOHANO, in his
          official capacity as the State Sheriff
          Division Administrator,

                         Defendants-Appellees.

                 Appeal from the United States District Court
                          for the District of Hawaii
                   Alan C. Kay, District Judge, Presiding

                   Argued and Submitted February 14, 2023
                             Honolulu, Hawaii

                             Filed August 7, 2023

           Before: Carlos T. Bea, Daniel P. Collins, and Kenneth K.
                             Lee, Circuit Judges.

                            Opinion by Judge Bea
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                                    SUMMARY *


                        Civil Rights/Second Amendment

             Reversing the district court’s summary judgment in
          favor of Hawaii officials and remanding, the panel held that
          Hawaii’s ban on butterfly knives, Haw. Rev. State. § 134-
          53(a), violates the Second Amendment as incorporated
          against Hawaii through the Fourteenth Amendment.
              The panel determined that plaintiffs had standing to
          challenge § 134-53(a) because they alleged that the Second
          Amendment provides them with a legally protected interest
          to purchase butterfly knives, and but for section 134-53(a),
          they would do so within Hawaii. Plaintiffs further
          articulated a concrete plan to violate the law, and Hawaii’s
          history of prosecution under its butterfly ban was good
          evidence of a credible threat of enforcement.
              The panel denied Hawaii’s request to remand this case
          for further factual or historical development in light of New
          York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct.
          2111 (2022), determining that further development of the
          adjudicative facts was unnecessary.
             The panel held that possession of butterfly knives is
          conduct covered by the plain text of the Second
          Amendment. Bladed weapons facially constitute “arms”
          within the meaning of the Second Amendment, and
          contemporaneous sources confirm that at the time of the
          adoption of the Second Amendment, the term “arms” was

          *
           This summary constitutes no part of the opinion of the court. It has
          been prepared by court staff for the convenience of the reader.
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          understood as generally extending to bladed weapons, and
          by necessity, butterfly knives. The Constitution therefore
          presumptively guarantees keeping and bearing such
          instruments for self-defense.
              The panel held that Hawaii failed to prove that section
          134-53(a) was consistent with this Nation’s historical
          tradition of regulating weapons. The majority of the
          historical statutes cited by Hawaii did not ban the possession
          of knives but rather regulated how they were carried and
          concerned knives that were distinct from butterfly knives,
          which are more analogous to ordinary pocketknives. Hawaii
          cited no analogues in which Congress, or any state
          legislature, imposed an outright ban on the possession of
          pocketknives close in time to the Second Amendment’s
          adoption in 1791, or the Fourteenth Amendment’s adoption
          in 1868.



                                  COUNSEL

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          Cody J. Wisniewski, Mountain States Legal Foundation,
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          Legal Foundation.
          John W. Dillon, Dillon Law Group APC, Carlsbad,
          California, for Amici Curiae San Diego County Gun Owners
          Political Action Committee, Firearms Policy Coalition, and
          Knife Rights Foundation Inc.



                                    OPINION

          BEA, Circuit Judge:

              In Hawaii, it is a misdemeanor knowingly to
          manufacture, sell, transfer, transport, or possess a butterfly
          knife—no exceptions. Haw. Rev. Stat. § 134-53(a). Because
          the possession of butterfly knives is conduct protected by the
          plain text of the Second Amendment, and because Hawaii
          has not demonstrated that its ban on butterfly knives is
          consistent with this Nation’s historical tradition of regulating
          arms, we conclude that section 134-53(a) violates Plaintiffs’
          Second Amendment rights. We reverse and remand.
                                         I.
              The butterfly knife, also known as the “balisong,” has a
          disputed origin. Some sources say it originated in France;
          others, the Philippines. It is anywhere from a few hundred to
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           over a thousand years old. Regardless of its origin, the
           butterfly knife resembles an ordinary pocketknife, a tool that
           has been used by Americans since the early 18th century (at
           the very latest). See State v. Delgado, 692 P.2d 610, 613–14
           (Or. 1984). Like a pocketknife, the butterfly knife comprises
           a handle and a folding blade, the cutting edge of which
           becomes covered by the handle when closed. Unlike a
           pocketknife, however, the butterfly knife’s handle is split
           into two components. Together, these two components fully
           encase the blade when closed and rotate in opposite
           directions to open. With a few short, quick movements, an
           experienced user can open a butterfly knife with one hand.
               Hawaii first criminalized carrying butterfly knives in
           1993. See 1993 Haw. Sess. Laws 404. Today, its butterfly
           knife ban reads in relevant part:

                  Whoever knowingly manufactures, sells,
                  transfers, possesses, or transports in the State
                  any butterfly knife, being a knife having a
                  blade encased in a split handle that manually
                  unfolds with hand or wrist action with the
                  assistance of inertia, gravity or both, shall be
                  guilty of a misdemeanor.

           Haw. Rev. Stat. § 134-53(a).
               Plaintiffs Andrew Teter and James Grell are law-abiding
           Hawaii residents who wish to purchase butterfly knives for
           self-defense. They sued Hawaii’s Attorney General and
           Sheriff Division Administrator (“Hawaii”). Plaintiffs sought
           declaratory relief to establish that section 134-53(a) violates
           the Second Amendment and injunctive relief against its
           enforcement. Plaintiffs alleged that, “[b]ut for Hawaii law,”
           they would purchase butterfly knives. Plaintiffs further
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           stated, in sworn declarations presented on cross-motions for
           summary judgment, that they owned butterfly knives before
           moving to Hawaii. They were “forced to dispose of” their
           knives because of section 134-53(a), but they would
           purchase butterfly knives again “[i]f Hawaii’s ban were
           lifted.” During discovery, Hawaii’s deposition witness and
           Plaintiffs’ expert witness agreed that the butterfly knife “is
           just a tool” that can be used offensively and defensively.
               On cross-motions for summary judgment, the district
           court applied then-binding precedent 1 to conclude that
           section 134-53(a) does not violate the Second Amendment,
           granted Hawaii’s motion, and entered judgment in its favor.
           We stayed Plaintiffs’ appeal pending the Supreme Court’s
           decision in New York State Rifle & Pistol Ass’n, Inc. v.
           Bruen, 142 S. Ct. 2111 (2022). After Bruen was decided, a
           motions panel ordered supplemental briefing and denied
           Hawaii’s motion to remand. The appeal is now before us.
           See 28 U.S.C. § 1291.
                                              II.
               We address two threshold issues before reaching the
           merits of this appeal. First, Hawaii argues that Plaintiffs lack
           standing to challenge section 134-53(a). Second, Hawaii
           renews its argument that we should remand for “further
           factual or historical development.” We reject both
           arguments.
                                              A.
                We first consider Article III standing. “To satisfy Article
           III standing, a plaintiff must show: (1) an injury in fact that


           1
            See United States v. Chovan, 735 F.3d 1127 (9th Cir. 2013), abrogated
           by N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).
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           is concrete and particularized and actual or imminent, not
           conjectural or hypothetical; (2) a causal connection between
           the injury and the challenged action of the defendant; and
           (3) that it is likely, as opposed to merely speculative, that the
           injury will be redressed by a favorable decision.” Jackson v.
           City & County of San Francisco, 746 F.3d 953, 967 (9th Cir.
           2014) (cleaned up). Here, the parties primarily dispute the
           injury in fact requirement. In particular, they disagree on the
           applicable framework governing that requirement in the
           Second Amendment context.
               Citing Jackson, Plaintiffs contend that the forced
           dispossession of their butterfly knives, combined with their
           inability to acquire replacements, constitutes a present injury
           which creates Article III standing to seek declaratory and
           injunctive relief. See 746 F.3d at 967. But, citing San Diego
           County Gun Rights Committee v. Reno, Hawaii argues that
           this amounts to the mere “chilling” of one’s ability to
           purchase an outlawed arm, which is not a cognizable injury.
           98 F.3d 1121, 1129–30 (9th Cir. 1996), abrogated in part by
           District of Columbia v. Heller, 554 U.S. 570 (2008). In
           Hawaii’s view, Plaintiffs have not established a present
           injury and must therefore satisfy the traditional requirements
           for a pre-enforcement challenge. See Susan B. Anthony List
           v. Driehaus, 573 U.S. 149, 159 (2014) (describing those
           requirements); Oklevueha Native Am. Church of Haw., Inc.
           v. Holder (“Oklevueha”), 676 F.3d 829, 835 (9th Cir. 2012)
           (same). For reasons explained below, we conclude
           that Plaintiffs have established standing to challenge
           section 134-53(a) under both Jackson and Driehaus.
                                          1.
              The plaintiff in Jackson sought to enjoin San Francisco’s
           ban on the sale of hollow-point ammunition. 746 F.3d at 958.
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           San Francisco argued that Jackson had “not suffered an
           injury in fact because she could easily obtain hollow-point
           ammunition outside San Francisco.” Id. at 967. We
           disagreed. We held that Jackson established an injury in fact
           because she “allege[d] that the Second Amendment
           provide[d] her with a legally protected interest to purchase
           hollow-point ammunition, and that but for [the ban], she
           would do so within San Francisco.” Id. (cleaned up). Jackson
           had not been threatened with prosecution under the
           ban—which prohibited only the transfer of such ammunition
           in San Francisco, not its possession—and we required no
           proof of such prosecution before concluding that she had
           suffered a cognizable injury. 2
               So too here. Plaintiffs allege in their complaint that,
           “[b]ut for Hawaii law,” they would purchase butterfly
           knives, an allegation which mirrors the one found adequate
           in Jackson. Plaintiffs stated in sworn declarations that they
           were “forced to dispose of” their butterfly knives because of
           section 134-53(a) and that, “[i]f Hawaii’s ban were lifted,”
           they would purchase replacements. As in Jackson, Plaintiffs
           “allege[] that the Second Amendment provides [them] with
           a legally protected interest to purchase [butterfly knives],
           and that, but for section [134-53(a)], [they] would do so


           2
             Jackson has been interpreted as holding that an “ongoing deprivation
           of an alleged legally protected interest, [one’s] Second Amendment
           rights, is sufficient to constitute an injury in fact.” Sullivan v. Ferguson,
           No. 3:22-CV-05403-DGE, 2022 WL 13969427, at *5 (W.D. Wash. Oct.
           24, 2022). Although Sullivan is not binding, its understanding of Jackson
           comports with our recognition that a threat of prosecution is unnecessary
           to prove standing where the plaintiffs’ injury is “not a hypothetical risk
           of prosecution but rather actual, ongoing . . . harm resulting from their”
           adherence to the challenged statute. National Audubon Society, Inc. v.
           Davis, 307 F.3d 835, 855 (9th Cir. 2002).
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           within [Hawaii].” Id. Accordingly, Jackson compels the
           conclusion that “section [134-53(a)] constitutes an injury in
           fact to [Plaintiffs], and [they have] standing to challenge it.”
           Id.
              Hawaii’s reliance on San Diego County for the contrary
           proposition is misplaced.
               Decided in 1996—before Heller—San Diego County
           involved a challenge to the federal Crime Control Act of
           1994 (“CCA”). 98 F.3d at 1124. The plaintiffs argued that
           they had standing to enjoin the CCA’s enforcement because
           they “‘wish[ed] and intend[ed]’ to engage in unspecified
           conduct prohibited by the [CCA].” Id. In concluding that the
           plaintiffs lacked standing, we stated that “the chilling of [the
           plaintiffs’] desire and ability to purchase outlawed firearms”
           was not a cognizable injury. Id. at 1129–30. Instead, we
           required the plaintiffs to identify some other injury-in-fact,
           which they failed to do. Id. at 1126–31. Hawaii argues that
           San Diego County forecloses any reliance on Jackson. We
           disagree.
               As relevant here, San Diego County addressed a narrow
           question—whether a subjective, unspecified “chilling” of
           one’s ability to acquire an arm constituted an injury in fact.
           Id. at 1124, 1129–30. Plaintiffs here do not allege that their
           ability to purchase butterfly knives has been “chill[ed].” Id.
           at 1129–30. The sale of butterfly knives is completely
           banned in the Hawaiian Islands. See Haw. Rev. Stat. § 134-
           53(a). As Hawaii residents, Plaintiffs are completely unable
           to acquire the arms that they allege are protected by the
           Second Amendment, which places this case within the
           confines of Jackson, not San Diego County.
              And to the extent San Diego County could be read as
           contradicting Jackson, it has been abrogated. When San
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          Diego County was decided, our precedent held that “the
          Second Amendment [was] a right held by the states, and
          [did] not protect the possession of a weapon by a private
          citizen.” 98 F.3d at 1124 (cleaned up). 3 In other words, to
          the extent San Diego County categorically held that a
          plaintiff cannot be injured by his inability “to purchase
          outlawed firearms,” id. at 1129–30, that was because our
          precedent had not yet recognized any individual right to keep
          and bear arms, id. at 1124. Of course, that precedent is
          “clearly irreconcilable,” Miller v. Gammie, 335 F.3d 889,
          900 (9th Cir. 2003), with Heller’s recognition of the
          individual right to keep and bear arms. 554 U.S. at 595.
              Hawaii’s broad reading of San Diego County is also
          irreconcilable with Teixeira v. County of Alameda, which
          adopted Jackson’s conclusion that the Second Amendment
          protects “the ability to acquire arms.” 873 F.3d 670, 677–78
          (9th Cir. 2017) (en banc). 4 Thus, we conclude that Heller
          and Teixeira foreclose Hawaii’s attempt to expand San



          3
           It was for this reason that the district court in Jackson noted that San
          Diego County’s standing analysis was of “uncertain” ongoing validity.
          Jackson v. City & Cnty. of San Francisco, 829 F. Supp. 2d 867, 871
          (N.D. Cal. 2011).
          4
            In Teixeira, a “would-be operator of a gun store” challenged a zoning
          ordinance that limited gun store locations in Alameda County. 873 F.3d
          at 673–75, 678. In summarizing the scope of the Second Amendment
          right, Teixeira cited Jackson, explaining that “the core Second
          Amendment right to keep and bear arms for self-defense wouldn’t mean
          much without the ability to acquire arms.” Id. at 677 (cleaned up).
          Accordingly, Teixeira “ha[d] derivative standing to assert the subsidiary
          right to acquire arms on behalf of his potential customers.” Id. at 678.
          We conducted no threat-of-prosecution analysis in reaching this
          conclusion.
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          Diego County’s holding in a manner that would contradict
          Jackson.
             Because Jackson compels the conclusion that Plaintiffs
          have established an injury in fact, it is not apparent that we
          must analyze the traditional requirements for a pre-
          enforcement challenge. See Nat’l Audubon Soc’y, Inc., 307
          F.3d at 855. But for the sake of thoroughness, we choose to
          “consider the familiar preenforcement claim ripeness
          analysis” to this case. Oklevueha, 676 F.3d at 835 (internal
          quotation marks omitted). We reach the same result under
          Hawaii’s theory of the case, which requires Plaintiffs to
          prove a justiciable threat of prosecution.
                                         2.
              To establish a justiciable threat of prosecution, a plaintiff
          must allege “an intention to engage in a course of conduct
          arguably affected with a constitutional interest, but
          proscribed by a statute, and there exists a credible threat of
          prosecution thereunder.” Driehaus, 573 U.S. at 159.
          Plaintiffs have alleged such an intention. Each Plaintiff
          declared under penalty of perjury that he wishes to purchase
          a butterfly knife, and would do so but for Hawaii’s ban. That
          conduct is arguably affected with a constitutional
          interest—Plaintiffs’ Second Amendment rights—and is
          proscribed by the statute here. See Haw. Rev. Stat. § 134-
          53(a). And there is a credible threat of enforcement under
          Hawaii’s law. Since 2012, roughly 30 people have been
          arrested or issued a citation for possessing a butterfly knife.
          Hawaii’s “history of past enforcement” is “good evidence”
          that future enforcement is likely. Driehaus, 573 U.S. at 164.
              Citing San Diego County, Hawaii contends that
          Plaintiffs must go further and show a “genuine threat of
          imminent prosecution,” which San Diego County suggests
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          would include a showing as to the “particular time or date on
          which plaintiffs intend to violate” the challenged statute. 98
          F.3d at 1126–27. But these stricter requirements in San
          Diego County cannot be reconciled with Driehaus’s
          rejection of the Sixth Circuit’s similar view in that case, and
          these aspects of San Diego County are therefore no longer
          good law. See Miller, 335 F.3d at 899–900. As Driehaus
          makes clear, all that is required is that the plaintiff establish
          “an intention to engage in a course of conduct arguably
          affected with a constitutional interest, but proscribed by a
          statute, and [that] there exists a credible threat of
          prosecution.” 573 U.S. at 159 (emphasis added). Driehaus
          also confirms that exact dates and times are not necessary
          and that it is sufficient on that score to identify, as Plaintiffs
          have done here, the specific conduct (here, the acquisition
          and possession of butterfly knives) that they affirmatively
          intend to engage in if Hawaii’s criminal prohibition is
          invalidated. Id. at 161.
              Hawaii also argues that Plaintiffs have failed to establish
          standing under the three-factor test we use “to determine
          whether plaintiffs have shown . . . a credible threat” under
          Driehaus. See Unified Data Servs., LLC v. FTC, 39 F.4th
          1200, 1210 (9th Cir. 2022). Those factors are: “[1] whether
          the plaintiffs have articulated a concrete plan to violate the
          law in question, [2] whether the prosecuting authorities have
          communicated a specific warning or threat to initiate
          proceedings, and [3] the history of past prosecution or
          enforcement under the challenged statute.” Id. Consideration
          of these factors confirms that Plaintiffs have sufficiently
          established a credible threat of prosecution.
              Here, Plaintiffs “have articulated a concrete plan to
          violate the law in question.” Id. They have stated, under
          penalty of perjury, that they previously possessed butterfly
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          knives but were forced to dispose of them because of
          Hawaii’s ban. They further declared that they wish to
          purchase replacement butterfly knives and would do so were
          the law not in place. Based on Plaintiffs’ disposal of their
          butterfly knives and their stated desire to purchase
          replacements, it is clear that their commitment to engage in
          conduct prohibited by Hawaii’s ban is no mere “‘some day’
          intention[].” Lujan v. Defs. of Wildlife, 504 U.S. 555, 564
          (1992). Moreover, Hawaii’s history of prosecution under its
          butterfly knife ban, is “good evidence” of a credible threat
          of enforcement. Driehaus, 573 U.S. at 164.
              Hawaii’s suggestion that a plaintiff must always prove
          “a specific warning or threat to initiate proceedings” has no
          basis in our precedent. These factors must be considered as
          a whole, in light of the totality of the circumstances, and not
          as a mandatory checklist. See Unified Data Servs., LLC, 39
          F.4th at 1210–11; Oklevueha, 676 F.3d at 836 (finding
          standing even though the “[p]laintiffs [did] not allege any
          threat of prosecution” (emphasis added)). On balance, we
          conclude that Plaintiffs have established a credible threat of
          enforcement of section 134-53(a), and therefore have
          established an injury in fact under Driehaus.
               The remaining elements of standing are not seriously
          disputed. The injury Plaintiffs complain of is directly
          traceable to the defendants, who are the officials responsible
          for enforcement of Hawaii’s butterfly knife ban. Lujan, 504
          U.S. at 560. And their injury would be redressed by a remedy
          that the district court could provide them, namely, an
          injunction against enforcement. Id. at 561. We are therefore
          satisfied that Plaintiffs have met the requirements for Article
          III standing.
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                                       B.
              Second, we deny Hawaii’s request for a remand. Hawaii
          has not explained what further factual development
          necessitates this relief. At oral argument, Hawaii’s counsel
          argued that further historical research is needed in light of
          Bruen. Oral Arg. at 14:58–16:50. But the historical research
          required under Bruen involves issues of so-called
          “legislative facts”—those “which have relevance to legal
          reasoning and the lawmaking process,” such as “the
          formulation of a legal principle or ruling by a judge or
          court”—rather than adjudicative facts, which “are simply the
          facts of the particular case.” Fed. R. Evid. 201, advis. comm.
          note (1972 proposed rules). Because the issue does not
          require further development of adjudicative facts to apply
          Bruen’s new standard, it does not trigger our “standard
          practice” in favor of remanding when an intervening change
          in law requires additional inquiry concerning adjudicative
          facts. See Detrich v. Ryan, 740 F.3d 1237, 1248–49 (9th Cir.
          2013) (en banc) (plurality opinion), overruled on other
          grounds by Shinn v. Ramirez, 142 S. Ct. 1718 (2022). And
          even when that presumption in favor of remand applies, we
          need not do so when “we can confidently decide [the issue]
          ourselves.” Id. at 1249. This is such a case. As we explain
          below, Hawaii has never cited an on-point historical
          analogue to section 134-53(a) even after having an
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          opportunity to do so before both motions and merits panels. 5
          We therefore decline to remand. 6
             Having cleared these two threshold hurdles, we now
          address the merits of this appeal.
                                             III.
              Plaintiffs appeal the district court’s grant of summary
          judgment to Hawaii, as well as the denial of their own
          motion for summary judgment. “When the district court
          disposes of a case on cross-motions for summary judgment,
          we may review both the grant of the prevailing party’s
          motion and the corresponding denial of the opponent’s
          motion.” Rearden LLC v. Rearden Com., Inc., 683 F.3d
          1190, 1202 (9th Cir. 2012) (cleaned up). Specifically, we
          must determine whether section 134-53(a) violates rights
          guaranteed by the Second Amendment, which is a question
          we review de novo. United States v. Oliver, 41 F.4th 1093,
          1097 (9th Cir. 2022).
              The Second Amendment guarantees the individual right
          to keep and bear arms, Heller, 554 U.S. at 592, and is
          incorporated against Hawaii through the Due Process Clause

          5
           As explained infra section III.C., Hawaii’s best historical analogue did
          not completely bar all possession of a type of knife. See 1837 Ga. Laws
          90.
          6
            Hawaii is not entitled to a remand on the ground that it should be given
          a further opportunity to establish a factual record for its position that
          butterfly knives may be prohibited based on what it contends is Heller’s
          “categorical exception[]” for “dangerous and unusual” weapons. By its
          terms, this argument rests on the pre-Bruen decision in Heller, and
          Hawaii already had a full opportunity to put forward a record as to why
          butterfly knives should be considered to be “dangerous and unusual” in
          the sense claimed. We address the merits of Hawaii’s contention on this
          score below. See infra at 20–22.
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          of the Fourteenth Amendment, McDonald v. City of
          Chicago, 561 U.S. 742, 791 (2010). Before analyzing the
          parties’ Second Amendment arguments, we discuss Bruen.
                                       A.
              Bruen abrogated the two-step approach we had adopted
          following Heller and McDonald to analyze Second
          Amendment challenges. See, e.g., United States v. Chovan,
          735 F.3d 1127, 1136 (9th Cir. 2013), abrogated by Bruen,
          142 S. Ct. 2111. Under our pre-Bruen approach, we would:
          (1) determine whether the challenged law affects conduct
          historically protected by the Second Amendment; and (2) if
          so, apply varying levels of scrutiny to review the
          constitutionality of the arms regulation, depending on how
          close the conduct affected by the law lay to the “core” of the
          Second Amendment right to “keep and bear arms.” E.g.,
          Young v. Hawaii, 992 F.3d 765, 783–84 (9th Cir. 2021) (en
          banc), vacated, 142 S. Ct. 2895. Bruen rejected this two-step
          test, reasoning that it was “one step too many.” 142 S. Ct. at
          2127. Instead, Bruen held

                 that when the Second Amendment’s plain
                 text covers an individual’s conduct, the
                 Constitution presumptively protects that
                 conduct. To justify its regulation, the
                 government may not simply posit that the
                 regulation promotes an important interest.
                 Rather, the government must demonstrate
                 that the regulation is consistent with this
                 Nation’s historical tradition of firearm
                 regulation. Only if a firearm regulation is
                 consistent with this Nation’s historical
                 tradition may a court conclude that the
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                 individual’s conduct falls outside the Second
                 Amendment’s “unqualified command.”

          Id. at 2126 (cleaned up). Although Bruen discussed “firearm
          regulation[s],” that was because the arm at issue in that case
          was a firearm. We see no reason why the framework would
          vary by type of “arm.”
              Applying the above standard, the first question in Bruen
          was “whether the plain text of the Second Amendment
          protects    [the    plaintiffs’]    proposed    course    of
          conduct—carrying handguns publicly for self-defense.” Id.
          at 2134. In answering it, Bruen analyzed only the “Second
          Amendment’s text,” applying ordinary interpretive
          principles. Id. at 2134–35. Because the word “‘bear’
          naturally encompasses public carry,” the Court concluded
          that the conduct at issue in Bruen (public carry) was
          protected by the plain text of the Second Amendment. Id. at
          2143.
               The second question addressed in Bruen was whether
          New York had met its burden in proving its “proper-cause
          requirement is consistent with this Nation’s historical
          tradition of firearm regulation.” Id. at 2135. In answering
          this second question, Bruen noted that “not all history is
          created equal.” Id. at 2136. It reasoned that the most apposite
          historical sources from which to derive a comparable
          historical analogue to the challenged statute are those close
          in time to 1791 (when the Second Amendment was ratified)
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          or 1868 (when the Fourteenth Amendment was ratified). Id.
          at 2136–38. 7
               We similarly structure our analysis. First, we examine
          whether possession of butterfly knives is conduct covered by
          the plain text of the Second Amendment. Concluding that it
          is, we then analyze whether Hawaii has demonstrated that its
          complete prohibition of that conduct is consistent with this
          Nation’s historical tradition of regulating arms.
                                           B.
             We first consider whether the possession of butterfly
          knives is protected by the plain text of the Second
          Amendment. The plain text provides:

                  A well regulated Militia, being necessary to
                  the security of a free State, the right of the
                  people to keep and bear Arms, shall not be
                  infringed.

          U.S. Const. amend. II.
             In Heller, the Supreme Court held that a handgun was an
          “arm” within the meaning of the Second Amendment. 554
          U.S. at 581, 628–29. In reaching that conclusion, the Court
          began by noting that, as a general matter, the “18th-century
          meaning” of the term “arms” is “no different from the
          meaning today.” Id. at 581. Then, as now, the Court
          explained, the term generally referred to “[w]eapons of

          7
            Bruen observed that “there is an ongoing scholarly debate on whether
          courts should primarily rely on the prevailing understanding of an
          individual right when the Fourteenth Amendment was ratified in 1868
          when defining its scope (as well as the scope of the right against the
          Federal Government).” 142 S. Ct. at 2138. Because this debate is not
          relevant to the disposition of this appeal, we express no view on it.
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          offence, or armour of defence.” Id. (cleaned up). The Court
          further noted that all relevant sources of the original public
          meaning of “arms” agreed that “all firearms constituted
          ‘arms’” within the then-understood meaning of that term. Id.
          The Court emphasized that it is irrelevant whether the
          particular type of firearm at issue has military value, because
          the term “arms” “was applied, then as now, to weapons that
          were not specifically designed for military use and were not
          employed in a military capacity.” Id. And, just as the scope
          of protection afforded by other constitutional rights extends
          to modern variants, so too the Second Amendment “extends,
          prima facie, to all instruments that constitute bearable arms,
          even those that were not in existence at the time of the
          founding.” Id. at 582.
              We similarly conclude that, just as with firearms in
          Heller, bladed weapons facially constitute “arms” within the
          meaning of the Second Amendment. Like firearms, bladed
          weapons fit the general definition of “arms” as “[w]eapons
          of offence” that may be “use[d] in wrath to cast at or strike
          another.” Id. (cleaned up). Moreover, contemporaneous
          sources confirm that, at the time of the adoption of the
          Second Amendment, the term “arms” was understood as
          generally extending to bladed weapons. See 1 Malachy
          Postlethwayt, The Universal Dictionary of Trade and
          Commerce (4th ed. 1774) (including among “arms” fascines,
          halberds, javelins, pikes, and swords). Because the plain text
          of the Second Amendment includes bladed weapons and, by
          necessity, butterfly knives, the Constitution “presumptively
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          guarantees” keeping and bearing such instruments “for self-
          defense.” Bruen, 142 S. Ct. at 2135. 8
               Hawaii presents two arguments to the contrary. First,
          Hawaii argues that only “ordinary, law-abiding, adult
          citizens” are included among “the people” referenced in the
          Second Amendment’s plain text. From there, it argues that
          “banning weapons associated with criminals”—such as, in
          Hawaii’s view, butterfly knives—“should not violate the
          Second Amendment.” This argument fails because Hawaii’s
          ban is not limited to criminals. See Haw. Rev. Stat. § 134-
          53(a). Indeed, the uncontroverted evidence in the record
          shows that these plaintiffs are not criminals, so this defense
          would not resolve their claims. 9
              Second, we similarly reject Hawaii’s argument that the
          purported “dangerous and unusual” nature of butterfly
          knives means that they are not “arms” as that term is used in
          the Second Amendment. Heller itself stated that the
          relevance of a weapon’s dangerous and unusual character
          lies in the “historical tradition of prohibiting the carrying of

          8
            Some state courts before Heller excluded many types of bladed
          weapons from the “arms” protected by the Second Amendment on the
          ground that they assertedly were not suited for military use. See State v.
          Workman, 14 S.E. 9, 11 (W. Va. 1891); English v. State, 35 Tex. 473,
          476–77 (1871); see also Strickland v. State, 72 S.E. 260, 261–62 (Ga.
          1911) (collecting cases). That reasoning is now squarely foreclosed by
          Heller, 554 U.S. at 581–82 (explicitly rejecting the view that the “arms”
          protected by the Second Amendment are limited to those “specifically
          designed for military use” or “employed in a military capacity”).
          Moreover, at oral argument, Hawaii’s counsel conceded that “knives, in
          general, can qualify as arms.” Oral Arg. at 18:35.
          9
           Because section 134-53(a) is not limited to disarming criminals, we do
          not address the question whether criminals are included among “the
          people” referenced the Second Amendment’s text.
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          dangerous and unusual weapons.” 554 U.S. at 627 (emphasis
          added) (cleaned up). It did not say that dangerous and
          unusual weapons are not arms. Thus, whether butterfly
          knives are “dangerous and unusual” is a contention as to
          which Hawaii bears the burden of proof in the second prong
          of the Bruen analysis.
              Because the historical tradition of prohibiting the carry
          of dangerous and unusual weapons was recognized in
          Heller, Hawaii had more than an ample opportunity to
          present arguments to the district court that butterfly knives
          are of that type. And Hawaii, in fact, proffered some
          evidence to that effect. Indeed, this appears to have been
          Hawaii’s primary argument below; at the summary
          judgment hearing, Hawaii’s counsel stated that “our initial
          argument is that the butterfly knife is a dangerous and
          unusual weapon.” But Hawaii failed to present evidence
          sufficient to create a genuine issue of material fact as to
          whether butterfly knives are dangerous and unusual.
              To determine whether a weapon is dangerous and
          unusual, “we consider whether the weapon has uniquely
          dangerous propensities and whether the weapon is
          commonly possessed by law-abiding citizens for lawful
          purposes.” Fyock v. Sunnyvale, 779 F.3d 991, 997 (9th Cir.
          2015), abrogated on other grounds by Bruen, 142 S. Ct.
          2111. The record does not support a conclusion that the
          butterfly knife has uniquely dangerous propensities. The
          butterfly knife is simply a pocketknife with an extra rotating
          handle. The ability of an experienced user to expose the
          blade with one hand is not the sort of “astonishing
          innovation” that “could not have been within the
          contemplation of the constitutional drafters.” Delgado, 692
          P.2d at 614.
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                There similarly is no genuine issue of material fact as to
          whether butterfly knives are commonly owned for lawful
          purposes. Most notably, Hawaii’s own witness conceded
          that butterfly knives may be used for self-defense. Moreover,
          in opposing passage of section 134-53(a), Hawaii’s Public
          Defender’s Office presented testimony that “butterfly knives
          . . . are an integral part of the [F]ilipino martial art called
          Escrima,” and an Escrima instructor testified to teaching the
          use of the balisong in martial arts for over a decade. 10 In
          opposition, Hawaii cites some conclusory statements in the
          legislative history claiming that butterfly knives are
          associated with criminals. We give little weight to these
          statements. Common sense tells us that all portable arms are
          associated with criminals to some extent, and the cited
          conclusory statements simply provide no basis for
          concluding that these instruments are not commonly owned
          for lawful purposes. Aside from these conclusory legislative
          statements, Hawaii has submitted no evidence that butterfly
          knives are not typically possessed by law-abiding citizens
          for self-defense.
             Having rejected Hawaii’s arguments to the contrary, we
          conclude that the possession of butterfly knives is conduct
          covered by the plain text of the Second Amendment.
                                          C.
              Because the possession of butterfly knives is covered by
          the plain text of the Second Amendment, Hawaii must prove
          that section 134-53(a) is consistent with this Nation’s
          historical tradition of regulating weapons. Bruen, 142 S. Ct.


          10
            “Esgrima” is the Spanish word for “fencing.” The Oxford Spanish
          Dictionary 344 (Beatriz Galimberti Jarman, Roy Russell, Carol Styles
          Carvajal & Jane Horwood eds., 3d ed. 2003).
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          at 2126–27, 2135. Hawaii may meet its burden by citing
          analogous regulations that were enacted close in time to the
          Second Amendment’s adoption in 1791 or the Fourteenth
          Amendment’s adoption in 1868. Id. at 2136–38. “Historical
          evidence that long predates either date may not illuminate
          the scope of the right if linguistic or legal conventions
          changed in the intervening years,” and “we must also guard
          against giving postenactment history more weight than it can
          rightly bear.” Id. at 2136. Hawaii must derive from these
          sources a “proper [historical] analogue” to section 134-
          53(a). Id. at 2132.
              In this historical-analogue inquiry, we cannot “uphold
          every modern law that remotely resembles a historical
          analogue.” Id. at 2133. “On the other hand, analogical
          reasoning requires only that the government identify a well-
          established and representative historical analogue, not a
          historical twin.” Id. In determining whether the modern
          regulation and the historical analogue are “relevantly
          similar,” we must look to the “how and why” of the two
          regulations; that is, “whether modern and historical
          regulations impose a comparable burden on the right of
          armed self-defense and whether that burden is comparably
          justified are central considerations when engaging in an
          analogical inquiry.” Id. at 2132–33. (cleaned up).
             Hawaii argues that section 134-53(a) is analogous to a
          number of state statutes stretching back to 1837, which
          regulated “Bowie knives,” “Arkansas Toothpicks,” “slung-
          shots,” metal knuckles, sword-canes, and other so-called
          “deadly weapons.” 11 Hawaii argues that these statutes evince

          11
            The bowie knife has a large, fixed blade that is sharp on one side and
          generally longer than nine inches. David B. Kopel et al., Knives and the
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          an historical tradition of banning weapons associated with
          criminality. We disagree that these statutes are proper
          historical analogues to section 134-53(a).
              As Bruen put it, the “how” of the proffered state statutes
          is different—they regulate different conduct. 142 S. Ct. at
          2133. The vast majority of the statutes cited by Hawaii did
          not ban the possession of knives; they regulated only their
          carry. True, four of these statutes (by our count) banned the
          possession of slung-shots, metal knuckles, and an undefined
          category of “deadly weapons.” See supra note 11. But no
          statute cited by Hawaii categorically banned the possession
          of any type of pocketknife.
              Hawaii’s best historical analogue is an 1837 Georgia
          statute. That statute states that no one shall “keep, or have
          about or on their person or elsewhere . . . Bowie, or any
          other kind of knives.” 1837 Ga. Laws 90. It is not apparent
          to us that “other kind[s] of knives,” would have been
          understood to include pocketknives. Even so, the Georgia

          Second Amendment, 47 U. Mich. J.L. Reform 167, 180 (2013). The
          Arkansas Toothpick has a “triangular blade[] up to eighteen inches long,
          sharpened on both edges.” Id. at 181. The slung-shot, also known as a
          “monkey’s fist,” is composed of a rope tied into a large, dense knot
          covering a heavy weight. It was traditionally used as a maritime tool to
          cast a line from one location to another. But it was also used as a weapon,
          similar to how one might use a flail. See, e.g., 1849 N.Y. Laws 403
          (banning the sale and possession of “slung shot[s]”); 1849 Vt. Acts &
          Resolves 26 (same); 1850 Mass. Acts 401 (banning the manufacture and
          sale of “slung shot[s]”); 1872 Ala. Laws 130 (banning the concealed
          carry of slung-shots or brass knuckles); 1881 Ill. Laws 73 (banning the
          sale and possession of a “slung-shot or metallic knuckles, or other deadly
          weapon”); 1917 Cal. Stat. 221 (banning the sale and possession of
          “slungshot[s]” or other deadly weapons); 1917 Minn. Laws 354 (banning
          the manufacture and sale of “slung-shot[s], sand club[s], or metal
          knuckles”).
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          statute must have permitted at least some possession of
          knives because it provided an exception for open carry. Id.
          It thus was substantially less restrictive than the Hawaii
          statute at issue here. And even if it were analogous to section
          134-53(a), one solitary statute is not enough to demonstrate
          a tradition of an arms regulation. Bruen, 142 S. Ct. at 2153.
              Of the remaining knife-regulating statutes cited by
          Hawaii, the most restrictive category banned the sale of
          bowie knives, Arkansas Toothpicks, dirks, or daggers. 12 The
          second-most restrictive category banned the carry of such
          weapons, concealed or otherwise. 13 But even these two
          categories are outliers.
             The vast majority of the statutes cited by Hawaii
          prohibited the concealed carry of bowie knives, Arkansas
          Toothpicks, dirks, daggers, or other “deadly weapons.” 14

          12
             E.g., 1837 Ga. Laws 90; 1838 Tenn. Pub. Acts 200; 1878 Miss. Laws
          175 (prohibiting sales only as to minors and intoxicated persons); 1881
          Ill. Laws 73 (prohibiting transfers of knives only as to minors); 1890
          Okla. Sess. Laws 495 (prohibiting transfers only as to minors); 1882 W.
          Va. Acts 421 (prohibiting transfers only as to minors); 1917 Cal. Stat.
          221 (prohibiting the manufacture or transfer of certain weapons,
          including dirks and daggers).
          13
            See, e.g., 1871 Tex. Gen. Laws 25; 1875 Ark. Acts 156; 1882 W. Va.
          Acts 421; 1890 Okla. Sess. Laws 495; 1917 Cal. Stat. 221 (prohibiting
          the carry of dirks or daggers).
          14
            E.g., 1837 Ga. Laws 90; 1838 Tenn. Pub. Acts 200–01; 1838 Va. Acts
          76 (prohibiting only “habitual[]” concealed carry); 1838 Ala. Laws 67;
          1855 La. Acts 148; 1859 Ind. Acts 129; 1859 Ohio Laws 56; 1864 Cal.
          Stat. 115; 1873 Neb. Laws 724; 1872 Wis. Sess. Laws 17; 1873 W. Va.
          Acts 709 (prohibiting only “habitual[]” concealed carry); 1878 Miss.
          Laws 175; 1879 Ill. Laws 114–15; 1879 N.C. Sess. Laws 231; 1880 S.C.
          Acts 447–48; 1881 Ill. Laws 74; 1884 Va. Acts 180; 1885 Or. Laws 33;
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          Other statutes were even more targeted. Some prohibited
          carry by certain individuals, 15 carry in certain places at
          certain times, 16 or carry for certain purposes, 17 and still

          1886 Md. Laws 602; 1887 Mich. Pub. Acts 144; 1893 R.I. Pub. Laws
          231–32; 1909 N.J. Laws 34–35.
          15
            E.g., 1868 Kan. Sess. Laws 378 (prohibiting carry by persons “not
          engaged in any legitimate business,” intoxicated persons, and rebels);
          1878 Miss. Laws 176 (prohibiting concealed carry by students).
          16
            E.g., 1870 La. Acts 159–60 (prohibiting carry of weapons near polling
          places on election days); 1870 Tex. Gen. Laws 139 (same); 1871 Tex.
          Gen. Laws 25–26 (prohibiting carry in religious assemblies, schools, and
          public gatherings); 1874 Mo. Laws 43 (prohibiting concealed carry in
          churches, schools, election precincts on election days, and courtrooms);
          1875 Va. Acts 102 (prohibiting carry in any “place of public worship
          during the time of holding any meeting for religious worship” and on
          “Sunday, at any place other than his own premises, except for good and
          sufficient cause”); 1892 Vt. Acts & Resolves 95 (prohibiting carry at
          schools).
          17
             E.g., 1851 Pa. Laws 382 (prohibiting “wilfully [sic] and maliciously”
          carrying dirk knives); 1859 Ind. Acts 129 (prohibiting open carry “with
          the intent or avowed purpose of injuring [a] fellow man”); 1866 N.Y.
          Laws 810–11 (prohibiting concealed carry “with intent to use against any
          other person” and establishing that concealed carry is “presumptive
          evidence” of such intent); 1875 Pa. Laws 33 (prohibiting concealed carry
          “with the intent therewith unlawfully and maliciously to do injury to any
          other person” and establishing that concealed carry may be evidence of
          such intent); 1886 Md. Laws 602 (prohibiting open carry “with the intent
          or purpose of injuring any person”); 1892 Vt. Acts & Resolves 95
          (prohibiting carry “with the intent or avowed purpose of injuring a fellow
          man”); 1915 N.D. Laws 96 (prohibiting concealed carry for an unlawful
          or illegitimate purpose and establishing that concealed carry is
          “presumptive evidence” of such intent); 1917 Cal. Stat. 222 (prohibiting
          carry of certain knives “with intent to use the same unlawfully against
          another”); 1917 Minn. Laws 354 (prohibiting carry of certain knives
          “with intent” to “use against another” and establishing that concealed
          carry is presumptive evidence of such intent).
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          others regulated dangerous conduct, such as dueling with a
          weapon. 18 Many of these statutes excepted the carry of
          prohibited weapons for self-defense, for “lawful purposes,”
          while traveling, or in their owners’ homes. 19

          18
             E.g., 1837 Miss. Laws 289–90; 1837 Ala. Laws 7 (“[I]f any person
          carrying any knife or weapon, known as Bowie Knives or Arkansaw [sic]
          Tooth-picks . . . on a sudden rencounter, shall cut or stab another with
          such knife, by reason of which he dies, it shall be adjudged
          murder . . . .”); 1850 Mass. Acts 401 (providing an enhanced penalty for
          persons arrested while carrying dangerous weapons); 1855 Cal. Stat. 152
          (penalizing dueling with certain weapons if it results in death); 1875 Ind.
          Acts 62 (prohibiting “drawing or threatening to use” certain weapons);
          1861 Nev. Stat. 61 (elevating killing a person with certain weapons
          during a duel to murder); 1868 Fla. Laws 95 (providing an enhanced
          penalty for persons arrested while carrying dangerous weapons); 1877
          Mo. Laws 240 (prohibiting “exhibit[ing]” certain weapons “in a rude,
          angry or threatening manner”); 1877 N.H. Laws 38 (providing an
          additional penalty when a “dangerous weapon[]” is found during arrest
          for a separate offense); 1879 Ill. Laws 114–15 (prohibiting display of a
          weapon “in a threatening manner”); 1881 Ill. Laws 74 (prohibiting
          display of a weapon “in a threatening or boisterous manner”).
          19
             E.g., 1837 Miss. Laws 292 (criminalizing exhibiting certain types of
          knives in a “rude, angry and threatening manner” unless it was “in
          necessary self defence”); 1859 Ind. Acts 129 (exception for travelers);
          1859 Ohio Laws 56–57 (providing a defense to conviction if the jury
          concluded that, “at the time of carrying any of the weapon or weapons
          aforesaid . . . the circumstances in which [defendant] was placed at the
          time aforesaid were such as to justify a prudent man in carrying the
          weapon or weapons aforesaid for the defense of his person, property, or
          family” and that the defendant was “engaged in the pursuit of any lawful
          business”); 1861 Nev. Stat. 62 (criminalizing exhibiting certain types of
          knives “in a rude, angry, and threatening manner, not in necessary self-
          defense”); 1864 Cal. Stat. 115 (exception for travel); 1871 Tex. Gen.
          Laws 25 (banning any person from carrying bowie knives or dirks
          “unless he has reasonable grounds for fearing an unlawful attack on his
          person, and that such ground of attack shall be immediate and pressing”
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              Notably, the cited statutes regulated kinds of knives that
          are distinct from butterfly knives. The butterfly knife is
          clearly more analogous to an ordinary pocketknife than to an
          Arkansas Toothpick or a bowie knife. And none of the
          statutes cited by Hawaii prohibited the carry of
          pocketknives, much less their possession outright. Four of
          these statutes, in fact, exempted pocketknives by name. 20


          and also excepting carrying weapons at one’s home or business or while
          traveling); 1872 Wis. Sess. Laws 17–18 (exception to a concealed carry
          prohibition if the defendant “had reasonable cause to fear an assault” or
          if “his possession of such weapon was for a temporary purpose, and with
          harmless intent”); 1873 Neb. Laws 724–25 (exempting the carry of
          knives “in the pursuit of any lawful business” in circumstances “such as
          to justify a prudent man in carrying the weapon . . . for the defense of his
          person, property, or family”); 1875 Ark. Acts 156 (prohibiting the carry
          of certain kinds of knives except on people’s “own premises” or when
          “traveling through the country”); 1875 Ind. Acts 62 (criminalizing
          “drawing or threatening to use” weapons unless done “in defense of . . .
          person or property”); 1877 Mo. Laws 240 (criminalizing the brandishing
          of weapons “in a rude, angry or threatening manner, not in the necessary
          defence of his person, family or property”); 1878 Miss. Laws 175
          (criminalizing carry only when not “threatened with, or having good and
          sufficient reason to apprehend an attack, or traveling”); 1879 N.C. Sess.
          Laws 231 (allowing concealed carry on a person’s own premises); 1880
          S.C. Acts 448 (same); 1882 W. Va. Acts 421–22 (exception for
          defendants who had “good cause to believe . . . that he was in danger of
          death or great bodily harm”); 1890 Okla. Sess. Laws 495 (exceptions for
          hunting, “public muster or military drills,” and traveling); 1909 N.J.
          Laws 34–35 (exceptions for licensed carry, carry in, to, or from one’s
          home and business, and carry for hunting); 1915 N.D. Laws 96
          (exception for carrying concealed weapons “to effect a lawful and
          legitimate purpose”).
          20
             E.g., 1866 N.Y. Laws 810–11 (prohibiting concealed carry of “any
          dirk or dagger (not contained as a blade of a pocket-knife)”); 1868 Fla.
          Laws 95 (prohibiting the carry of “any dirk, pistol, or other arm or
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              This historical background makes our analysis relatively
          “straightforward.” Bruen, 142 S. Ct. at 2131. Bruen
          explained that

                  when a challenged regulation addresses a
                  general societal problem that has persisted
                  since the 18th century, the lack of a distinctly
                  similar historical regulation addressing that
                  problem is relevant evidence that the
                  challenged regulation is inconsistent with the
                  Second Amendment. Likewise, if earlier
                  generations addressed the societal problem,
                  but did so through materially different means,
                  that also could be evidence that a modern
                  regulation is unconstitutional.

          Id.
              Here, the 1999 Hawaii Legislature addressed the
          perceived social problem of an “increasing trend in minors
          and gang members armed with knives and daggers,” who
          preferred butterfly knives “as they are easy to conceal and
          are more intimidating when brandished.” But the problem of
          people using easily concealable, foldable knives in violent
          crimes predates 1999 by hundreds of years:

                  Of the many varieties of knives, none has
                  been a more constant or enduring companion
                  to man than the pocket knife. Specimens of

          weapon, except a common pocket knife”); 1885 Or. Laws 33
          (prohibiting concealed carry of “any knife (other than an ordinary
          pocket-knife)”); 1886 Md. Laws 602 (prohibiting concealed carry of
          “dangerous or deadly weapon[s] of any kind whatsoever, (penknives
          excepted)”).
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                 folding pocket knives have been discovered
                 in Roman archeological sites, indicating that
                 such knives were popular at least from the
                 first century A.D. They have been
                 manufactured for their utility as both
                 instruments of labor and combat. One of the
                 most common of the specific named knives is
                 the jackknife, a word of uncertain origin,
                 which was a large single-bladed folding
                 knife, ranging in size from four to seven
                 inches when closed. By the early 1700s,
                 when the eastern seaboard had become a
                 highly settled area with large towns and cities
                 and relatively good roads, men normally
                 carried a folding pocket knife. Even when
                 they joined the American army during the
                 revolution, the knife they carried was the
                 jackknife, which was mentioned frequently
                 in colonial records. During the American
                 Revolution at least two states, New
                 Hampshire and New York, required their
                 militiamen to carry a jackknife. . . . The
                 folding pocketknife, in particular, since the
                 early 18th century has been commonly
                 carried by men in America and used
                 primarily for work, but also for fighting.

          Delgado, 692 P.2d at 613–14.
              Thus, section 134-53(a) purports to “address[] a general
          societal problem” of easily concealable, foldable knives
          being used in crimes—a problem that “has persisted since
          the 18th century.” Bruen 142 S. Ct. at 2131. But Hawaii cites
          no analogues in which Congress or any state legislature
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          imposed an outright ban on the possession of pocketknives
          to remedy this problem near 1791 or 1868. “[E]arlier
          generations addressed the societal problem” of knife
          violence “through materially different means” other than
          outright bans on certain types of pocketknives, which goes
          to prove that section 134-53(a) violates the Second
          Amendment. Id.
                                     IV.
             We conclude that section 134-53(a) violates the Second
          Amendment as incorporated against Hawaii through the
          Fourteenth Amendment. We reverse and remand for further
          proceedings consistent with this opinion.
             REVERSED AND REMANDED.
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 1                            CERTIFICATE OF SERVICE
 2                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 3                               SOUTHERN DIVISION
 4   Case Name: Rupp, et al. v. Bonta
 5   Case No.: 8:17-cv-00746-JLS-JDE

 6   IT IS HEREBY CERTIFIED THAT:
 7          I, the undersigned, am a citizen of the United States and am at least eighteen
     years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
 8   Beach, California 90802.
 9
            I am not a party to the above-entitled action. I have caused service of:
10
              PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
11
12   on the following party by electronically filing the foregoing with the Clerk of the
     District Court using its ECF System, which electronically notifies them.
13
     Xavier Becerra
14   Attorney General of California
     Anna Ferrari
15   Deputy Attorney General
16   Email: anna.ferrari@doj.ca.gov
     Christina R.B. Lopez
17   Email: christina.lopez@doj.ca.gov
     John D. Echeverria
18   Email: john.echeverria@doj.ca.gov
19   455 Golden Gate Ave., Suite 11000
     San Francisco, CA 94102
20
21          I declare under penalty of perjury that the foregoing is true and correct.
22   Executed August 24, 2023.
23
24                                           Laura Palmerin
25
26
27
28


                               CERTIFICATE OF SERVICE
